                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 TANESHA TAYLOR,                                )
                                                )        Case No. 3:21-cv-61
        Plaintiff,                              )
                                                )        Judge Travis R. McDonough
 v.                                             )
                                                )        Magistrate Judge Debra C. Poplin
 OFFICER MCINTOSH,                              )
                                                )
        Defendant.                              )
                                                )


                                             ORDER



       On February 23, 2021, Plaintiff filed this pro se action. (Doc. 2.) Plaintiff also filed an

application to proceed in forma pauperis. (Doc. 1.) On April 15, 2021, United States Magistrate

Judge Debra C. Poplin issued a report and recommendation, recommending the Court grant the

motion for leave to proceed in forma pauperis but dismiss the complaint for failure to state claim

pursuant to 28 U.S.C. § 1915(e). (Doc. 4.) Plaintiff failed to timely object to the report and

recommendation.

       After reviewing the record and the applicable law, the Court agrees with the magistrate

judge’s findings of fact, conclusions of law, and recommendation. Therefore, the Court

ACCEPTS and ADOPTS the report and recommendation (Doc. 4) pursuant to 28 U.S.C.

§ 636(b)(1), and ORDERS that the action be DISMISSED.

       AN APPROPRIATE JUDGMENT WILL ENTER.

                                              /s/ Travis R. McDonough
                                              TRAVIS R. MCDONOUGH
                                              UNITED STATES DISTRICT JUDGE




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